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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

JARROD JOHNSON, individually,                    )
and on Behalf of a Class of Persons              )
Similarly Situated,                              )
                                                 )      CIVIL ACTION
         Plaintiff,                              )      NO.: 4:20-cv-00008-AT
v.                                               )
                                                 )
3M COMPANY, et al.,                              )
                                                 )
         Defendants.                             )

                        DEFENDANT SECOA TECHNOLOGY, LLC’S
                       RULE 26(a) INITIAL DISCLOSURE STATEMENT

         Defendant SECOA Technology, LLC (“SECOA”), pursuant to Rule 26(a)(1)

of the Federal Rules of Civil Procedure and Local Rule 26.1(b), provides the

following Initial Disclosures. These initial disclosures are based on the information

reasonably available to SECOA at this time, and SECOA reserves the right to

supplement these disclosures as more information becomes available.

         1.        If the Defendant is improperly identified, state Defendant’s correct

identification and state whether Defendant will accept service of an amended

summons and complaint reflecting the information furnished in this disclosure

response.

         RESPONSE:             SECOA is properly identified.




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         2.        Provide the names of any parties whom Defendant contends are

necessary parties to this action, but who have not been named by Plaintiff. If

Defendant contends that there is a question of misjoinder of parties, provide

the reasons for the Defendant’s contention.

         RESPONSE:             SECOA is aware of no additional necessary parties to this

action at this time, and is not aware of any misjoinder of parties. SECOA will

supplement this response if necessary.

         3.        Provide a detailed factual basis for the defense or defenses and any

counterclaims or cross-claims asserted by Defendant in the responsive

pleading.

         RESPONSE:             Plaintiff and members of the proposed class (“Proposed

Class Members”) allege that numerous entities, including SECOA, have discharged

per- and polyfluoroalkyl substances (“PFAS”), resulting in the presence of PFAS in

the water supply of Rome, Georgia and Floyd County, Georgia, which these

municipalities capture as surface water to be treated and sold as drinking water and

for other purposes. The waters at issue may be impacted by a variety of sources, and

the chemicals Plaintiff references in his Complaint are found in a multitude of

consumer and commercial products.

         SECOA is a metal finishing, coating, and plating company created under

Georgia law. SECOA does not manufacture anything, and does not operate any


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manufacturing process that discharges to its sewer line. All waste generated from

SECOA’s coating processes is placed in waste drums, and this waste is hauled off

by a licensed waste disposal company for incineration. SECOA does not contribute

any PFAS to its wastewater. SECOA legally discharges wastewater to Dalton

Utilities pursuant to permits for industrial wastewater discharge. SECOA exercises

no control over Dalton Utilities, including the utility’s wastewater discharge. Dalton

Utilities holds a non-discharge permit issued by the Georgia EPD. SECOA is not

liable to Plaintiff or Proposed Class Members for any failure by Dalton Utilities to

properly treat, handle, or supply water.

         For the reasons set forth in SECOA’s Motion to Dismiss the Second Amended

Complaint [Doc. No. 355] and in the motions to dismiss, defenses, and answers of

other similarly-situated defendants, SECOA is not liable for any alleged harm to

Plaintiff or Proposed Class Members. First, Plaintiff’s claims for relief are barred

by the Economic Loss Doctrine. Further, SECOA owed no duty to Plaintiff or

Proposed Class Members regarding operations of Dalton Utilities and its facilities;

Plaintiff’s complained of injury, property damage and loss resulting from surcharges

incurred by ratepayers, was not the foreseeable result of SECOA’s conduct in

sending its wastewater for treatment by Dalton Utilities according to the terms of its

permit; and Plaintiff has failed to allege any “special injury” required for establishing




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public nuisance under Georgia law. If Plaintiff has been harmed in any actionable

way, that harm was caused by parties other than SECOA.

         Furthermore, SECOA has not created or maintained a nuisance or any other

conditions to cause a nuisance, nor has SECOA violated any duty allegedly owed to

Plaintiff or Proposed Class Members. Finally, SECOA is not a joint tortfeasor and

pursuant to O.C.G.A. § 51-12-3, any apportionment of the alleged damages to which

SECOA purportedly contributed (if any) would be de minimus relative to other

entities.

         SECOA has not asserted counterclaims or cross-claims at this time.

         4.        Describe in detail all statutes, codes, regulations, legal principles,

standards and customs or usages, and illustrative case law which Defendant

contends are applicable to this action.

         RESPONSE:             SECOA relies on the statutes and legal principals set forth

in its Motion to Dismiss [Doc. 355], as well as the applicable statutes, codes, legal

principals, legal standards, case law, defenses and arguments asserted by other

defendants that are subject to PFAS-related allegations for discharges purportedly

affecting the City of Rome, Georgia’s and Floyd County, Georgia’s water supplies,

as those other defendants’ pleadings contain detailed descriptions of the legal

principals and case law generally applicable to this action. SECOA reserves the right

to supplement its legal arguments as this litigation progresses.


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         5.       Provide the name and, if known, the address and telephone

number of each individual likely to have discoverable information that you may

use to support your claims or defenses, unless solely for impeachment,

identifying the subjects of the information. (Attach witness list to Initial

Disclosures as Attachment A.)

         RESPONSE:             See Attachment A attached hereto.

         6.        Provide the name of any person who may be used at trial to present

evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all

experts described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report

satisfying the provisions of that rule. (Attach expert witness list and written

reports to Initial Disclosures as Attachment B.)

         RESPONSE:            SECOA has not yet identified any witness who may

provide expert opinion testimony at trial pursuant to Fed. R. Evid. 702, 703, or 705.

In addition, SECOA has not yet determined whether SECOA will identify any

testifying expert witness subject to the disclosure requirements of Fed. R. Civ. P.

26(a)(2)(B). SECOA will timely amend this disclosure consistent with the Federal

Rules of Civil Procedure and in accordance with the Court’s Case Management

Order.

         7.        Provide a copy of, or description by category and location of, all

documents, data compilations or other electronically stored information, and


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tangible things in your possession, custody, or control that you may use to

support your claims or defenses unless solely for impeachment, identifying the

subjects of the information. (Attach document list and descriptions to Initial

Disclosures as Attachment C.)

         RESPONSE:             See Attachment C attached hereto.

         8.        In the space provided below, provide a computation of any

category of damages claimed by you. In addition, include a copy of, or describe

by category and location of, the documents or other evidentiary material, not

privileged or protected from disclosure on which such computation is based,

including materials bearing on the nature and extent of injuries suffered,

making such documents or evidentiary material available for inspection and

copying under Fed.R.Civ.P. 34. (Attach any copies and descriptions to Initial

Disclosures as Attachment D.)

         RESPONSE:             SECOA does not seek damages at this time.

         9.        If Defendant contends that some other person or legal entity is, in

whole or in part, liable to the Plaintiff or Defendant in this matter, state the full

name, address, and telephone number of such person or entity and describe in

detail the basis of such liability.

         RESPONSE:             SECOA does not presently contend that any party is liable

to it or to Plaintiff in this matter but will timely amend this disclosure pursuant to


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the Federal Rules of Civil Procedure and in accordance with the Court’s Case

Management Order in the event that new information arises during discovery that

alters SECOA’s position.

         10.       Attach for inspection and copying as under Fed. R. Civ. P. 34 any

insurance agreement under which any person carrying on an insurance

business may be liable to satisfy part or all of a judgment which may be entered

in this action or to indemnify or reimburse for payments to satisfy the

judgment. (Attach copy of insurance agreement to Initial Disclosures as

Attachment E.)

         RESPONSE:            SECOA will produce the declaration page for any

applicable insurance policy(ies) at a mutually agreeable date, time, and location to

be determined by the parties.

Date: January 14, 2021

                                          Respectfully submitted,

                                          HUSCH BLACKWELL LLP


                                    By: /s/Samantha A. Lunn
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                                       ATTACHMENT A

         SECOA identifies the following individuals who may have discoverable

information that SECOA may use to support its defenses, unless used solely for

impeachment:

         1.        Jarrod Johnson: As the named Plaintiff, Mr. Johnson has knowledge

relating to the claims asserted by him, and others purportedly similarly situated, in

this matter. Mr. Johnson can be contacted through his counsel of record.

         2.        Michael Knapp, Chief Financial Officer of SECOA: Mr. Knapp has

knowledge relating to SECOA’s business operations and its metal finishing, coating,

and plating procedures. Mr. Knapp can be contacted through counsel for SECOA.

         3.        Mark Parsons, Purchasing, Anodizing, & EHS Manager of SECOA:

Mr. Parsons has knowledge relating to SECOA’s business operations and its metal

finishing, coating, and plating procedures, including its waste disposal procedures.

Mr. Parsons can be contacted through counsel for SECOA.

         4.            SECOA incorporates by reference the names of individuals disclosed

in Co-Defendants’ and Plaintiff’s witness lists.

         SECOA will supplement its Response to this Initial Disclosure as required,

to the extent additional information is discovered regarding others who may have

responsive knowledge.




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                                        ATTACHMENT C

         The following is a description by category of all documents, data

compilations, or other electronically stored information and tangible things in

SECOA’s possession, custody, or control that it may use to support its defenses,

unless solely for impeachment. The documents listed below are in SECOA’s

possession.

         1.            Documents relating to SECOA’s business operations as a metal

finishing, coating, and plating company serving a wide range of clients in a diverse

set of industries.

         2.            Documents relating to the disposal of wastewater from SECOA’s

facility.

         3.            Documents relating to permits held by SECOA related to the disposal

of wastewater.

         4.            Communications    with   Dalton   Utilities   and/or   the   Georgia

Environmental Protection Division.

         5.        Communications relating to PFAS.

         6.        Documents relating to the testing of wastewater. SECOA reserves the

right to supplement its Response to this Initial Disclosure.




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                         CERTIFICATE OF COMPLIANCE

         Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is a computer document and

was prepared in Times New Roman 14-point font, as mandated in Local Rule 5.1.C.



                                         /s/Samantha A. Lunn
                                         Samantha A. Lunn, GA Bar #303099


                            CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and accurate copy of the foregoing

DEFENDANT SECOA TECHNOLOGY, LLC’S RULE 26(a) INITIAL

DISCLOSURE STATEMENT has been filed electronically with the Clerk of

Court on January 14, 2021 by using the CM/ECF System which has notified all

counsel of record.



                                         /s/Samantha A. Lunn
                                         Samantha A. Lunn, GA Bar #303099




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